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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 MINA FILIBERTO PAREDES,


 v.                                     Case No. 8:05-cr-26-T-17TBM
                                                 8:06-cv-1916-T-17TBM

 UNITED STATES OF AMERICA.


                                         ORDER

        This cause is before the Court upon Defendant's amended motion to vacate, set

 aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255 (Doc. cv-3; cr-

 290 (hereinafter "motion to vacate" or "motion"). The Government filed a response (Doc.

 cv-5). Mina did not file a reply to the response. “Under Rules Governing Section 2255

 Cases, Rule 4(b), a district court faced with a § 2255 motion may make an order for its

 summary dismissal “[i]f it plainly appears from the face of the motion and any annexed

 exhibits and the prior proceedings in the case that the movant is not entitled to relief[.]”

 Broadwater v. United States, 292 F.3d 1302, 1303 (11th Cir. 2002) (quoting 28 U.S.C. foll.

 § 2255). A review of the record demonstrates that Paredes is not entitled to relief and that

 his motion to vacate must be denied.

                                      BACKGROUND

        In January 2005, a United States Coast Guard cutter intercepted a fishing vessel,

 the Andres Abel, in the Pacific Ocean. Presentence Investigation Report ("PSR") ¶ 10.

 Mina Filiberto Paredes was one of the vessel's eight crew members. PSR ¶¶ 10-12. A crew

 from the Coast Guard cutter boarded the Andres Abel. PSR ¶ 11. They discovered in the

 fuel tank a hidden compartment that contained 2647 kilograms of cocaine. PSR ¶ 11.
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        Shortly thereafter, a grand jury in the Middle District of Florida indicted Mina Filiberto

 Paredes and the other crew members on charges of conspiring to possess five kilograms

 or more of cocaine with the intent to distribute it, while on board a vessel subject to the

 jurisdiction of the United States, in violation of 46 U.S.C. app. § 1903(a), (g), and (j) and 21

 U.S.C. § 960(b)(1)(B)(ii), and possessing five kilograms or more of cocaine with the intent

 to distribute it, while on board a vessel subject to the jurisdiction of the United States, in

 violation of 46 U.S.C. app. § 1903(a) and (g), 18 U.S.C. § 2, and 21 U.S.C. §

 960(b)(1)(B)(ii). Doc. cr-1.

        Paredes pled guilty to Count One of the Indictment pursuant to a written plea

 agreement. Docs. cr-61, 107, 268. As part of his plea agreement, Paredes expressly

 waived the right to appeal his sentence or to challenge it collaterally on any ground,

 including the ground that the Court erred in determining the applicable guidelines range

 pursuant to the United States Sentencing Guidelines, except if the sentence exceeds the

 applicable guidelines range as determined by the Court, the sentence exceeds the statutory

 maximum penalty, or the sentence violates the Eighth Amendment to the Constitution. Doc.

 cr-61 at 12. During the change-of-plea hearing, Paredes was assisted by an interpreter.

 Doc. cr-85 and cr-268 at 2 and 4.

        During the change-of-plea hearing, the magistrate judge reviewed with Paredes his

 sentence appeal waiver and confirmed that he understood the consequences of that

 waiver:

        THE COURT:              And the other things that I want to
                                add about sentence is at Page 12,
                                Paragraph 5 of your plea
                                agreement. Here you have agreed
                                to a provision that limits or restricts
                                your right to an appeal in this case.
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                             This language says that there are
                             three circumstances which would
                             allow you to initiate an appeal.

                              One is if your sentence is for more
                             than the law allows, you can
                             appeal. The second ground is if
                             the judge calculates your
                             guidelines at a particular level bu
                             then sentences you at a higher
                             range, you can appeal that
                             sentence as being unreasonable.
                             And finally this provision would
                             allow you to appeal if your
                             sentence was in violation of the
                             constitution.

                             Now, the significance of this
                             limitation here is that when you
                             come to court for sentencing, if the
                             judge calculates your guidelines at
                             a particular level, and the she –
                             she then sentences you within that
                             calculated range, you are going to
                             be stuck with that sentence,
                             meaning you are not going to be
                             able to appeal it even if it’s worse
                             than you anticipated as long as it’s
                             lawful and constitutional. Do you
                             understand that?

        PAREDES-MINA: Yes, sir.

 Doc. cr-268 at 25.

        The Court advised Paredes of the charge to which he was pleading and that it

 carried a mandatory minimum punishment of ten years. Doc. cr-268 at 10-11. During the

 entire exchange Paredes stated (1) he understood the charges and the penalties (Id. at

 11); (2) he understood the consequences of giving up his rights in order to plea (Id. at 14);

 (3) the plea agreement had been read to him and he understood it very well (Id. at 28); (4)

 he was not promised anything or threatened in any way in order to plea guilty (Id. at 15-16);
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 and (5) he had no complaints about his lawyer (Id. at 17).

        The magistrate judge accepted Paredes’ guilty plea (Doc. cr-268 at 29) and

 prepared a report and recommendation confirming his view that Paredes had knowingly

 and voluntarily agreed to plead guilty. Docs. cr-87. Paredes did not file an objection to that

 report, which the District Court adopted. Doc. cr-107. The District Court sentenced

 Paredes to 135 months' imprisonment with credit for time served. Docs. cr-143, 147.

        On November 8, 2006, Paredes filed a timely Amended Motion to Vacate under 28

 U.S.C. § 2255. Doc. cv-3. Paredes raised the following claims:

        Ground One: Ineffective Assistance of Counsel during the plea process and at

 sentencing. Doc. cv-3 at 5.

        Ground Two: A departure for minor role is warranted. Id. at 6.

        Ground Three: A departure for extraordinary family circumstances and for collateral

 consequences due to deportability is warranted. Id. at 7.

        Ground Four: Paredes entered into a plea agreement under false pretenses. Id. at

 9.

                                      APPEAL WAIVER

        Paredes stated that he entered his plea under false pretenses, and that he should

 have received a departure for minimal role in the offense and a departure for extraordinary

 family circumstances. He also complained that his counsel was ineffective for failing to

 explain the consequences of the plea and for failing to request an evidentiary hearing at

 sentencing, to present a downward departure based on minor role and collateral

 consequences, to argue the mandatory scheme of the sentencing guidelines, and to

 receive any leniency or benefits for entering into a plea agreement that bore no fruits. Doc.
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 cv-3 at 5-9.

        Paredes has waived the right to appeal his sentence, directly or collaterally, on all

 the grounds he raised in this petition. The right to appeal is statutory and can be waived

 knowingly and voluntarily. See Williams v. United States, 396 F.3d 1340, 1342 (11th Cir.),

 cert denied, 126 S. Ct. 246 (2005); United States v. Bushert, 997 F.2d 1343, 1350 (11th

 Cir. 1993). For this Court to enforce an appeal waiver contained in a plea agreement, the

 Government need only demonstrate either that this Court specifically questioned the

 defendant concerning the sentence appeal waiver during the Fed. R. Crim. P. 11 colloquy

 or that it is manifestly clear from the record that the defendant otherwise understood the

 full significance of the waiver. Williams, 396 F.3d at 1342; Bushert, 997 F.2d at 1351.

        A defendant’s waiver of the right to appeal “directly or collaterally” encompasses his

 right to challenge his sentence in a section 2255 proceeding. See Williams, 396 F.3d at

 1342; United States v. White, 307 F.3d 336, 341-44 (5th Cir. 2002); Garcia-Santos v.

 United States, 273 F.3d 506, 508-09 (2d Cir. 2001); Davila v. United States, 258 F.3d 448,

 451-52 (6th Cir. 2001); United States v. Cockerham, 237 F.3d 1179, 1183-87 (10th Cir.

 2001); Mason v. United States, 211 F.3d 1065, 1069-70 (7th Cir. 2000). The waiver is

 enforceable against claims of ineffective assistance of counsel at sentencing, because “a

 contrary result would permit a defendant to circumvent the terms of the sentence-appeal

 waiver simply by recasting a challenge to his sentence as a claim of ineffective assistance,

 thus rendering the waiver meaningless.” Williams, 396 F.3d at 1342; see also Cockerham,

 237 F.3d at 1182 (appeal and collateral attack waiver provision in plea agreement waives

 the right to section 2255 petition based on ineffective assistance of counsel unless

 challenge concerns the validity of the plea or waiver); Mason, 211 F.3d at 1069 (same). In
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 particular, if the complaint underlying the ineffective assistance claim was waived by a

 defendant’s plea agreement, then the ineffective assistance claim also was waived. See

 Williams, 396 F.3d at 1342 (acknowledging that exceptions in plea agreement to

 defendant’s waiver of appeal did not apply to the claims raised in the petition); United

 States v. Djelevic, 161 F.3d 104, 107 (2d Cir. 1998) (although “dress[ed] up” as a Sixth

 Amendment claim, defendant really is challenging the correctness of his sentence under

 the guidelines and, therefore, is barred by the plain language of his plea agreement; to

 allow his claim would be to “render[ ] meaningless” such plea agreement waivers).

          In this instance, the Court explained the sentence appeal waiver in detail and asked

 Paredes if he understood it. Doc. cr-268 at 25. Paredes responded that he did. Id. The

 Court asked Paredes if he had been threatened or if anyone had promised him anything

 that was not in the written plea agreement to get him to give up that right. Id. at 15-16.

 Paredes responded in the negative. Id. at 16. The Court further advised Paredes that the

 offense to which he was pleading guilty carried a maximum period of incarceration of life

 and a mandatory minimum period of incarceration of ten years. Id. at 10-11 and 21-22. The

 Court asked Paredes if he understood those penalties, and he responded that he did. Id.

 at 11.

          Parades attempts to offset the plea waiver with assertions that he was unaware of

 the consequences of his plea (Ground One) and that he entered the agreement under false

 pretenses (Ground Four). Even if the Court were to assume that Paredes' counsel did not

 discuss the consequences of the plea, the sentencing guidelines and the statute’s

 mandatory minimum sentence of 10 years, the Court reviewed these and other pertinent

 issues in great detail during the change of plea hearing. The Court specifically questioned
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 Paredes to as to the consequences of his plea, and asked questions designed to ensure

 no one had influenced him improperly:

       THE COURT:           I’m explaining these various rights
                           to you because I want to make
                           sure that you understand the full
                           consequences of pleading guilty.
                           As I say, by pleading guilty you are
                           not just admitting the criminal
                           charge, but you are also in effect
                           giving up each of these rights that
                           I have just outlined for you. You
                           are not going to fight the charges.
                           Essentially you are going to
                           concede them and in a couple of
                           months you will be brought back to
                           be punished. Do you understand
                           this, Mr Paredes-Mina?

       PAREDES-MINA:       Yes sir.

 Doc. cr-268 at 14.

       THE COURT:          Essentially this plea agreement
                           operates as a recommendation to
                           the judge as to what he should do
                           at your sentencing, but it’s not a
                           binding recommendation. In this
                           case Judge Kovachevich will look
                           at these concessions and in all
                           likelihood will give you the benefit
                           of them, but you need to
                           understand that you are not
                           guaranteed that you will receive
                           the benefit of them and if the judge
                           chooses to do something different,
                           it is not a breach of this agreement
                           because, as I say, this is merely a
                           recommendation. Do you
                           understand that’s how this
                           agreement works?

       PAREDES-MINA:       Yes, Sir.

       THE COURT:          Okay, Now, other than those
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                             concessions that we have just
                             identified, has anybody promised
                             you anything else in order to get
                             you to plead guilty?

        PAREDES-MINA:        No, Sir.

        THE COURT:           Has anybody promised you a
                             particular sentence?

        PAREDES-MINA:        No, Sir.

        THE COURT:           Has anybody threatened you or a
                             member of your family or do you
                             feel like you are being forced into
                             pleading guilty?

        PAREDES-MINA:        No, sir.

 Doc. cr-268 at 16-17.

        Paredes clearly understood the consequences of a guilty plea, the maximum and

 minimum penalties, and the sentence appeal waiver. The Court found that Paredes was

 an alert and intelligent individual and was satisfied that Paredes understood his rights and

 that he voluntarily waived them. Doc. cr-268 at 29.

        The record is clear that Paredes expressly waived the right to appeal his sentence

 or to challenge it collaterally on any ground. Doc. cr-61 at 12. It is also clear that Paredes

 plead knowingly and voluntarily.

        Paredes' sentencing challenges which are set forth in Grounds Two and Three are

 solely challenges to the District Court’s application of the guidelines. These challenges do

 not fall within the exceptions to his appeal waiver. While the rest of Paredes’ claims are

 couched in terms of ineffective assistance of counsel, Paredes has waived them because

 they address his sentence and the manner in which it was determined, not the validity of

 his plea or the waiver. See Williams, 396 F.3d at 1342; Davila, 258 F.3d at 451-52; Mason,
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 211 F.3d at 1068; Djelevic, 161 F.3d at 107. Because these claims are not based on “a

 sentence exceeding the applicable guidelines, a sentence above the statutory maximum,

 or a violation of the Eighth Amendment” (Doc. cr-61 at 12) this Court will not consider them.

        Therefore, Paredes may not collaterally challenge his sentence, as he purports to

 do here. See Williams, 396 F.3d at 1342. In Williams, the Eleventh Circuit held that a plea-

 agreement waiver provision almost identical to one at issue here “precluded a § 2255 claim

 based on ineffective assistance at sentencing”. Id.

        For this Court to entertain the issues that Paredes raises in this collateral attack

 would permit Paredes a challenge in contravention of the plain meaning of his plea

 agreement and deny the Government the benefit for which it bargained. See Buchanan,

 131 F.3d at 1008; see also United States v. Wenger, 58 F.3d 280, 282 (7th Cir. 1995)

 (defendant exchanged his right to appeal for prosecutorial concessions, “he cannot have

 his cake and eat it too”). Here, Paredes admitted his guilt and agreed not to collaterally

 attack his sentence in exchange for the Government's agreement to, among other things,

 move for dismissal of count two, recommend a three-level downward adjustment for

 acceptance of responsibility, recommend a sentencing at the low end of the applicable

 guideline range, and consider substantial assistance. See Doc. cr-61. Paredes cannot be

 permitted to circumvent the unambiguous terms of his plea agreement.

                 COGNIZABILITY OF CHALLENGES TO GUILTY PLEA

        Collateral review pursuant to 28 U.S.C. § 2255 is not a substitute for direct appeal.

 See Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004); Burke v. United States,

 152 F.3d 1329, 1331-32 (11th Cir. 1998) (citing Sunal v. Large, 332 U.S. 174, 178 (1947)).

 Nonconstitutional claims can be raised on collateral review only when the alleged error
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 constitutes a “ ‘fundamental defect which inherently results in a complete miscarriage of

 justice [or] an omission inconsistent with the rudimentary demands of fair procedure.’ ”

 Reed v. Farley, 512 U.S. 339, 348 (1994) (quoting Hill v. United States, 368 U.S. 424, 428

 (1962)).

        In this case, Paredes has not raised any constitutional issue, and has not claimed

 that any error in this case (assuming that there is one) constitutes a “ ‘fundamental defect

 which inherently results in a complete miscarriage of justice [or] an omission inconsistent

 with the rudimentary demands of fair procedure.’ ” Reed, 512 U.S. at 348.

        Paredes claims (without any legal or factual support) that his lawyer never explained

 the consequences of the plea and that he made him sign the plea under false pretenses.

 (Grounds One and Four) Doc. cv-3 at 5 and 9.

        After a conviction based on a guilty plea has become final, Paredes may challenge

 only the knowing and voluntary nature of the plea, unless the record demonstrates that the

 District Court lacked the power to enter the conviction or impose the sentence. United

 States v. Broce, 488 U.S. 563 (1989); United States v. Kaiser, 893 F.2d 1300 (11th Cir.

 1990); Broce, 488 U.S. at 563. "It is well settled that a voluntary and intelligent plea of guilty

 made by an accused person, who has been advised by competent counsel, may not be

 collaterally attacked . . . ." Mabry v. Johnson, 467 U.S. 504, 508 (1984). Moreover, Paredes

 is barred from raising a challenge to the factual basis of his plea in a section 2255 motion.

 See Wilson v. United States, 962 F.2d 996, 997 (11th Cir. 1992). In the context of a Section

 2255 motion, "a defendant who enters a plea of guilty waives all non-jurisdictional

 challenges to the constitutionality of the conviction, and only an attack on the voluntary and

 knowing nature of the plea can be sustained." Id.
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          Further, the representations of the defendant at a plea hearing, with the findings

 made by the judge accepting the plea, constitute "a formidable barrier in any subsequent

 collateral proceedings." Blackledge v. Allison, 431 U.S. 63, 74 (1977). The declarations of

 the defendant in open court carry a strong presumption of verity which is not overcome by

 the subsequent presentation of conclusory and contradictory allegations. Id.

          "[I]f the Rule 11 plea taking procedure is careful and detailed, the defendant will not

 later be heard to contend that he swore falsely." United States v. Stitzer, 785 F.2d 1506,

 1514 n.4 (11th Cir.), cert. denied, 479 U.S. 823 (1986). The statements of a defendant in

 open court are presumed to be true. United States v. Gonzalez-Mercado, 808 F.2d 796,

 800 n.8 (11th Cir. 1987); Downs-Morgan v. United States, 765 F.2d 1534, 1541 n.14 (11th

 Cir. 1985). Because a defendant's statements concerning plea consequences at the time

 of plea are considered "persuasive evidence," they are not overcome by the defendant's

 bald assertion of misunderstanding. Harvey v. United States, 850 F.2d 388, 396 (8th Cir.

 1988).

          Paredes contends he entered a guilty plea without fully understanding the plea. Doc.

 cv-3 at 5. As discussed above, the record clearly contradicts Paredes' allegations and

 demonstrates that he entered into the plea knowingly and voluntarily. When he read and

 signed the plea agreement, Paredes was put on notice of the consequences of his plea,

 the maximum and minimum penalties, and the sentence appeal waiver. Doc. cr-61. This

 notice was reinforced during the change of plea hearing. Paredes was told about–and said

 that he understood--the charge to which he was pleading guilty (Doc. 268 at 10-11), the

 elements of the offense (Id.) , the maximum and minimum penalties he faced (Id.), the

 Court’s authority to determine his sentence (Id. at 20-24), and his waiver of appeal rights
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 (Id. at 25). When asked whether any other promises regarding his sentencing had been

 made, he responded in the negative. Id. at 16. In sum, it is clear that Paredes' guilty plea

 was knowing and voluntary, rendering this claim for relief non-cognizable in a section 2255

 proceeding.

                                 PROCEDURAL DEFAULT

        Paredes is not entitled to relief on his sentencing claims described in grounds Two

 and Three because these claims are not only waived, they are procedurally defaulted.

        Ordinarily, claims that previously were available and were not raised in a prior

 proceeding are procedurally defaulted and barred from consideration on collateral review.

 See McCoy v. United States, 266 F.3d 1245, 1258 (11th Cir. 2001); Bousley v. United

 States, 523 U.S. 614, 622-24 (1998); United States v. Frady, 456 U.S. 152, 166 (1982).

 When a defendant raises a constitutional claim on collateral review that he failed to raise

 in the trial proceedings or on direct appeal, he bears the burden of establishing cause and

 actual prejudice resulting from the error or actual innocence to excuse the defaults. McCoy,

 266 F.3d at 1258-59. To show cause for not raising a claim in an earlier proceeding,

 Paredes must show “some external impediment preventing counsel from constructing or

 raising the claim.” See High v. Head, 209 F.3d 1257, 1262-63 (11th Cir. 2000) (quoting

 McCleskey v. Zant, 499 U.S. 467, 497 (1991)). To establish prejudice, Paredes must prove

 that “the errors at trial actually and substantially disadvantaged his defense so that he was

 denied fundamental fairness.” See Wright v. Hopper, 169 F.3d 695, 706 (11th Cir. 1999)

 (internal quotations omitted). This is a heavier burden than the burden of establishing plain

 error on appeal. See Frady, 456 U.S. at 164. The futility of raising a claim does not

 constitute sufficient cause to excuse the default. Bousley, 523 U.S. at 623; Jones v. United
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 States, 153 F.3d 1305, 1307-08 (11th Cir. 1998).

        In Ground One, Paredes indirectly excuses his procedural default regarding Grounds

 Two and Three by claiming that his attorney rendered ineffective assistance for not getting

 him a minor role reduction, for not getting him a departure for family extraordinary

 circumstances and for not obtaining the benefits of his plea agreement. Doc. cv-3at 5.

        A petitioner can establish cause in some circumstances by showing that a

 procedural default was caused by constitutionally ineffective assistance of counsel under

 Strickland v. Washington, 466 U.S. 668, 690 (1984), see Fortenberry v. Haley, 297 F.3d

 1213, 1222 (11th Cir. 2002); however, Paredes must fully allege and prove deficient

 performance that worked to his actual and substantial disadvantage. See Reece v. United

 States, 119 F.3d 1462, 1465-68 (11th Cir. 1997).

        Paredes does not meet this burden. As set forth below, Paredes' factual claims are

  inconsistent with the record and his limited arguments are factually and legally flawed.

                                     Departure Claims

        Paredes claims that counsel failed to request an evidentiary hearing at sentencing

 to present a downward departure on collateral consequences and he failed to obtain a

 minor role reduction. Doc. cv-3 at 5. While the record does not show that counsel

 requested a special “evidentiary hearing,” counsel did ask the Court to afford a minor role

 reduction to Paredes. PSR Addendum ¶ 2 and Objections to PSR. That request was

 obviously denied. Doc. cr-143. The sentencing guidelines direct the sentencing court to

 decrease a defendant’s guidelines offense level by two levels if he was a “minor participant

 in any criminal activity.” USSG §3B1.2(b). Importantly, a defendant does not merit any

 reduction unless he is “substantially less culpable than the average participant.” Id.,
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 comment. (n.3(A)). In addition, he cannot qualify for a “minor role” reduction unless he is

 “less culpable than most other participants.” Id., comment. (n.5). A defendant seeking a

 reduction bears the burden of proving, by a preponderance of the evidence, that he is

 entitled to it. United States v. DeVaron, 175 F.3d 930, 939 (11th Cir. 1999) (en banc).

        Paredes offered nothing substantial in his petition to support his claim that he should

 have received a minor role reduction or any other reduction for that matter. Paredes has

 failed to show any failure, much less prove that his attorney’s alleged failure worked to his

 actual and substantial disadvantage. In addition, Paredes' counsel cannot be deemed to

 have performed deficiently by failing to address an issue that reasonably would have been

 considered to be without merit. See Davis v. Singletary, 119 F.3d 1471, 1476 (11th Cir.

 1997); Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994); Pitts v. Cook, 923 F.2d

 1568, 1572-74 (11th Cir. 1991); Thompson v. Wainwright, 787 F.2d 1447, 1459 n.8 (11th

 Cir. 1986).

                                   Benefits of Plea Claim

        Paredes claims he did not receive any benefits for his plea because he did not

 receive two point reduction for acceptance of responsibility. Doc. cv-3 at 9. The record

 shows that Paredes in fact received a three point reduction. PSR ¶¶ 25-26. Based on all

 of the above, Paredes’ claims are defaulted and he has failed to meet the burden to prove

 that his default was caused by his counsel’s deficient performance. Therefore, Paredes’

 claims in Grounds Two and Three and their related ineffective assistance claims in

 Grounds One and Four warrant no relief.

                       INEFFECTIVE ASSISTANCE OF COUNSEL

        Paredes claims his counsel was ineffective because he: (1) failed to inform him of
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 the consequences of his plea; (2) did not properly argue mitigating circumstances at the

 sentencing hearing; and (3) failed to file a notice of appeal. Doc. cv-1 at 5-6. Not only have

 these claims been waived, they are meritless.

        The Sixth Amendment right to counsel is the right to effective assistance of counsel.

 McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The benchmark for judging any

 claim of ineffective assistance of counsel, however, is whether counsel's conduct so

 undermined the proper functioning of the adversarial process that the trial cannot be relied

 on as having produced a just result. Strickland v. Washington, 466 U.S. 668, 688 (1984);

 see also Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1984). Because a lawyer

 is presumed to be competent to assist a defendant, the accused has the burden to

 demonstrate the denial of the effective assistance of counsel. United States v. Cronic, 466

 U.S. 648, 658 (1984). Ineffectiveness of counsel may be grounds for vacating conviction

 if: (1) counsel’s performance fell below an objective standard of reasonable professional

 assistance; and (2) the defendant was prejudiced by the deficient performance. Strickland,

 466 U.S. at 687, 694. “There is no reason for a court deciding an ineffective assistance

 claim . . . to address both components of the inquiry if the defendant makes an insufficient

 showing on one.” Strickland, 466 U.S. at 697. Thus, if the defendant fails to show that he

 is prejudiced by the alleged errors of counsel, this Court may reject the defendant’s claim

 without determining whether the counsel’s performance was deficient. See Coulter v.

 Herring, 60 F.3d 1499, 1504 n.8 (11th Cir. 1995).

        For performance to be deficient, it must be established that, in light of all the

 circumstances, counsel's performance was outside the wide range of professional

 competence. See Strickland, 466 U.S. at 690. In other words, when reviewing counsel's
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 decisions, "the issue is not what is possible or 'what is prudent or appropriate, but only what

 is constitutionally compelled.'" Chandler v. United States, 218 F.3d 1305, 131 (11th Cir.

 2000) (en banc) (quoting Burger v. Kemp, 483 U.S. 776 (1987)), cert. denied 531 U.S.

 1204 (2001). Furthermore, "[t]he burden of persuasion is on a petitioner to prove, by a

 preponderance of competent evidence, that counsel's performance was unreasonable." Id.

 (citing Strickland, 466 U.S. at 688). This burden of persuasion, though not insurmountable,

 is a heavy one. See id. at 1314 (citing Kimmelman v. Morrison, 477 U.S. 365 (1986)).

        “‘Judicial scrutiny of counsel’s performance must be highly deferential,’” and courts

 “must avoid second-guessing counsel’s performance.” Id. at 1314 (quoting Strickland, 466

 U.S. at 689). Therefore, “counsel cannot be adjudged incompetent for performing in a

 particular way in a case, as long as the approach taken ‘might be considered sound trial

 strategy.’” Id. (quoting Darden v. Wainwright, 477 U.S. 168 (1986)).

        If the record is incomplete or unclear about counsel’s actions, then it is presumed

 that counsel exercised reasonable professional judgment. See id. at 1314-15 n.15. Thus,

 the presumption afforded counsel’s performance “is not . . . that the particular defense

 lawyer in reality focused on and, then, deliberately decided to do or not to do a specific act.”

 Id. Rather, the presumption is “that what the particular defense lawyer did at trial. . . were

 acts that some reasonable lawyer might do.” Id.

        Moreover, “[t]he reasonableness of a counsel’s performance is an objective inquiry.”

 Id. at 1315. For Paredes to show deficient performance, he “must establish that no

 competent counsel would have taken the action that his counsel did take.” Id. To uphold

 a lawyer’s strategy, a court “need not attempt to divine the lawyer’s mental processes

 underlying the strategy.” Id. at 1315 n.16. Finally, “[n]o absolute rules dictate what is
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 reasonable performance for lawyers.” Id. at 1317. Considered in light of these standards,

 the performance of Paredes' counsel was not constitutionally deficient and, in any event,

 Paredes was not prejudiced thereby.

                          Ineffective Assistance of Counsel For Plea

        Paredes makes ineffective assistance of counsel claims relating to the plea process.

 Specifically, Paredes claims that his counsel failed to inform him of the consequences of

 his plea. Doc. cv-3 at 5.

        The two-pronged Strickland test is applicable to ineffective assistance of counsel

 claims arising out of the plea process. Hill v. Lockhart, 474 U.S. 52, 57 (1985). As applied

 to the plea situation, the first prong of Strickland remains the same in that the attorney's

 conduct must fall within the range of reasonable conduct. Hill, 474 U.S. at 58. Counsel

 owes a lesser duty to a client who pleads guilty than to one who goes to trial, however, and

 in the former case, counsel need only provide his client with an understanding of the law

 in relation to the facts, so that the accused may make an informed and conscious choice

 between entering a guilty plea and going to trial. Wofford v. Wainwright, 748 F.2d 1505,

 1508 (11th Cir. 1984). To impart such an understanding to the accused, counsel merely

 must make an independent examination of the facts, circumstances, pleadings and laws

 involved, and then offer counsel's informed opinion as to the best course to be followed in

 protecting the interests of the client. Id.

        The second prong of the Strickland test focuses on whether counsel's

 constitutionally ineffective performance affected the outcome of the plea process. Hill, 474

 U.S. at 59. In other words, in order to satisfy the prejudice requirement, a petitioner

 claiming ineffective assistance of counsel during the plea process must show that there is
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 a reasonable probability that, but for counsel's errors, petitioner would not have pleaded

 guilty and would have insisted on going to trial. Id.

        Paredes claims that his lawyer did not explain the consequences of his plea is

 contradicted by the record. In addition to what has been discussed above, the record

 shows that the Court questioned Paredes regarding his counsel’s performance and that

 Paredes was satisfied:

        THE COURT:           And you have been represented in
                             these proceedings by Mr. Robbins.
                             Do you have any complaints about
                             anything that he has done in your
                             behalf? Your lawyer, right.

        PAREDES-MINA:        No, Sir.

 Doc. cr-268 at 17. The Court also wanted to confirm that Paredes had previously reviewed

 the agreement and understood it.

        THE COURT:           Mr. Paredes-Mina, the last part of
                             your plea agreement indicates that
                             it is the entire agreement and also
                             there’s a certification that someone
                             has read it to you in its entirety and
                             that you understand it. Was this
                             plea agreement read to you?

        PAREDES-MINA:        Yes, Sir.

        THE COURT:           And did you understand it when it
                             was read to you?

        PAREDES-MINA:        Very well. Yes, Sir.

        THE COURT:           Is there anything about the plea
                             agreement that I have discussed
                             today that confuses you?

        PAREDES-MINA: No, everything is clear.

        THE COURT:           All right. And I’m looking at a copy
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                              here and it appears that you would
                              have signed it after you read it as
                              well along with Mr. Robbins. Is that
                              your signature there?

        PAREDES-MINA:         Yes, Sir.

 Id. at 28. Paredes told the Court, under oath, that he had no complaints about his lawyer,

 the agreement had been read to him, that he understood the agreement very well, and that

 it was all clear. The record thus categorically contradicts Paredes’ claims. These claims do

 not warrant relief.

                       Ineffective Assistance of Counsel at Sentencing

        Paredes claims that his counsel was ineffective because he did not ask for an

 evidentiary hearing to raise mitigating factors that should have reduced Paredes' sentence.

 Doc. cv-1 at 5. Again, not only is this claim waived, it is without merit. Counsel raised the

 minor role issue as an objection to the PSR. See Objection to PSR “Position of Defendant

 Filiberto Paredes Mina with Respect To The Sentencing Factors” ¶ 2. Probation disagreed

 arguing that a minor role was not applicable to Paredes or a any of his co-defendants. No

 evidence distinguished the defendant’s role or participation from that of the other crew

 members. Addendum to PSR ¶ 2. Even if Paredes could show that his counsel failed to

 raise these issues, he has not argued or shown any resulting prejudice.

        Paredes has failed to show that his counsel’s performance during the plea process

 and during sentencing was deficient and failed to show resulting prejudice.

        Because none of Paredes' claims have merit, the Court orders:

        That Paredes' motion to vacate (Doc. cv-3; cr-290) is denied. The Clerk is directed

 to enter judgment against Paredes in the civil case and to close that case.

                         CERTIFICATE OF APPEALABILITY AND
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                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances. Finally, because Defendant is not entitled to a certificate of

 appealability, he is not entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on September 18, 2007.




 AUSA: Anthony Porcelli
 Pro se: MINA FILIBERTO PAREDES
